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5                 IN THE UNITED STATES DISTRICT COURT IN AND FOR THE
                           WESTERN DISTRICT OF WASHINGTON
6
                                             SEATTLE DIVISION
7

8    ERIK GUSTAFSON, an individual,                             No. 25-CV-367
     JAMES ANDERSON, an individual,
9    MARIO MAGNOTTI, an individual,                             PLAINTIFFS’ COMPLAINT FOR
     DAVID GRONDAHL, an individual,                             DAMAGES, DECLARATORY RELIEF
10   COREY HALL, an individual, and                             & INJUNCTIVE RELIEF
     JESSE DISCH, an individual,
11                                                              [JURY TRIAL DEMANDED]
                              Plaintiffs,
12
                        v.
13
     CITY OF KIRKLAND,
14   FIRE CHIEF JOE SANFORD,
     DEPUTY FIRE CHIEF TIMOTHY DAY,
15   MAYOR PENNY SWEET, and
     CITY MANAGER JAMES LOPEZ,
16
17                            Defendants.

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22
             COME NOW, ERIK GUSTAFSON (“Gustafson”), JAMES ANDERSON (“Anderson”),
23
     MARIO MAGNOTTI (“Magnotti”), COREY HALL (“Hall”), DAVID GRONDAHL
24
     (“Grondahl”) and JESSE DISCH (“Disch”) (collectively, the “Plaintiffs”), by and through their
25
     undersigned attorney of record, and submit the following Complaint for Damages, Declaratory
26
     Relief and Injunctive Relief, and in support thereof, further state as follows:
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     DECLARATORY RELIEF & INJUNCTIVE RELIEF
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1                                         I.      INTRODUCTION.

2            1.      This is a complaint alleging a violation of the Plaintiffs’ constitutional liberties

3    under the First Amendment, to the free exercise of religion, a violation of Plaintiffs’ right to be

4    free from religious discrimination in the context of their employment by the City of Kirkland, and

5    other violations of applicable state and federal law, as set forth in greater detail infra.

6            2.      On August 20, 2021, the Governor for the State of Washington issued

7    Proclamation 21.14.1, which prohibited any Worker from engaging in work for a State Agency after

8    October 18, 2021, if the Worker had not been fully vaccinated againt COVID-19 the “Vaccine

9    mandate. See https://governor.wa.gov/sites/default/files/proclamations/21-14.1%20-%20COVID-

10   19%20Vax%20Washington%20Amendment.pdf.

11           3.      The Plaintiffs here are devout, practicing Christians, who were terminated from

12   their employment by the City of Kirkland Fire Department, after exercising their rights to

13   religious freedom and declining to receive the COVID-19 vaccine, as such would represent an

14   act prohibited by their sincerely held religious beliefs. Plaintiffs believe that to receive the

15   vaccine(s), especially those using aborted fetal cell lines, would interfere with divine provenance.

16           4.      Plaintiffs were treated in virtually identical fashion by the City of Kirkland Fire

17   Department, in accordance with its apparent determination that it would eventually terminate all

18   employees who objected to receiving the COVID-19 vaccine on religious grounds. Like other

19   City firefighters, the City purported to accommodate them by providing a brief window during

20   which they could be on a “day shift,” performing administrative functions, after which the

21   Plaintiffs were summarily terminated.

22           5.      The City did not, at the end of the accommodation period, consider any further

23   accommodations of Plaintiffs or other City firefighters that would permit them to remain in their

24   positions, or even consider extending the “day shift” accommodation based upon the facts and

25   circumstances existing at that time, at the end of December, 2021. The City had already

26   determined that it would simply terminate the employees at the end of the accommodation period,

27   if they did not choose to receive the vaccine.

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1              6.     The City then proceeded to terminate the employment of each of the Plaintiffs

2    here, after going through the requisite “pre-separation” process needed to document their

3    determination.

4                                             II.    PARTIES.

5              7.     The Defendant, City of Kirkland, is an entity of local government in the State of

6    Washington, located in King County.

7              8.   The Defendant, Joe Sanford, was Chief of the City of Kirkland Fire Department, at

8    all relevant times, and his involvement in implementing the COVID-19 vaccine mandate, acting

9    under color of law, proximately caused the Plaintiffs’ injuries as alleged herein. See generally

10   Decl. of Timothy Day, 12/30/2021, a true and correct copy of which is attached as Exhibit 1.

11             9.   The Defendant, Timothy Day, was Deputy Chief of the City of Kirkland Fire

12   Department, at all relevant times, and his involvement in implementing the COVID-19 vaccine

13   mandate, acting under color of law, proximately caused the Plaintiffs’ injuries as alleged herein.

14   See id.

15             10. The Defendant, James Lopez, was the Deputy City Manager for External Affairs of

16   the City of Kirkland, at all relevant times, and his involvement in implementing the COVID-19

17   vaccine mandate, acting under color of law proximately caused the Plaintiffs’ injuries as alleged

18   herein. See generally Decl. of James Lopez, 1/3/2022, a true and correct copy of which is attached

19   as Exhibit 2.

20             11. The Defendant, Penny Sweet, was the Mayor of the City of Kirkland, at all relevant

21   times, and her involvement in implementing the COVID-19 vaccine mandate, acting under color

22   of law, proximately caused the Plaintiffs’ injuries as alleged herein. See generally correspondence

23   from Mayor Penny Sweet, a true and correct copy of which is attached as Exhibit 3.

24             12. Plaintiff, Mr. Gustafson, was employed as a Firefighter/EMT with the City of

25   Kirkland, prior to his termination on December 31, 2021, for inability to receive the COVID-19

26   vaccine. Mr. Gustafson was only reinstated to his position on July 3, 2023, after the vaccine

27   mandate was lifted statewide.

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1           13. Plaintiff, Mr. Magnotti, was employed as a Firefighter/EMT with the City of

2    Kirkland, prior to his termination on December 31, 2021, for inability to receive the COVID-19

3    vaccine. Mr. Magnotti has not been reinstated to his previous position with the City of Kirkland,

4    but was offered reinstatement by the City at or aound the same time as the other named Plaintiffs.

5           14. Plaintiff, Mr. Anderson, was employed as a Firefighter/EMT with the City of

6    Kirkland, prior to his resignation on March 25, 2022, for inability to receive the COVID-19

7    vaccine. Mr. Anderson was reinstated to his previous position with the City of Kirkland on June

8    20, 2023, but at this time is a resident of the State of Tennessee.

9           15. Plaintiff, Mr. Hall, was employed as a Firefighter/EMT with the City of Kirkland,

10   prior to his termination on January 21, 2022, for inability to receive the COVID-19 vaccine. Mr.

11   Hall was only reinstated to his position on or about June 12, 2023, after the vaccine mandate was

12   lifted statewide.

13          16. Plaintiff, Mr. Disch, was employed as a Firefighter/EMT with the City of Kirkland,

14   prior to his termination on April 5, 2022, for inability to receive the COVID-19 vaccine. Mr.

15   Disch was only reinstated to his position on or about August 16, 2023, after the vaccine mandate

16   was lifted statewide.

17          17. Plaintiff, Mr. Grondahl, was employed as a Firefighter/EMT with the City of

18   Kirkland, prior to his termination on April 18, 2022, for inability to receive the COVID-19

19   vaccine. Mr. Grondahl was only reinstated to his position in or around February, 2023, after the

20   vaccine mandate was lifted statewide.

21                                   III.    JURISDICTION & VENUE.

22          18.     The Court has subject matter jurisdiction based on 28 U.S.C. §§ 1331 and

23   1343(a)(3), because this case raises violations of Plaintiff’s federal constitutional rights, as well as

24   intertwined violations of the Washington Constitution, and is brought pursuant to 42 U.S.C. §§

25   1983 and 1988, and 28 U.S.C. §§ 2201 and 2202. The Court has subject matter jurisdiction over

26   Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367.

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1           19.     Venue in this Court is appropriate pursuant to 28 U.S.C. § 1391(b), and intra-district

2    assignment to the Seattle Division of the United States District Court for the Western District of

3    Washington is proper under LCR 3(e)(1), because all relevant events occurred in King County,

4    Washington.

5           20.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by RCW 7.24,

6    28 U.S.C. § 2201, and 28 U.S.C. § 2202, as well as Rules 57 and 65 of the Federal Rules of Civil

7    Procedure.

8                                       IV.     FACTUAL ALLEGATIONS.
9
            21.     The United States Consitution was adopted on June 21, 1788, and subsequently
10
     amended. The Constitution upholds and buttresses all other laws which have followed, and
11
     represents the supreme law of the land. The Constitution protects citizens’ free exercise of
12
     religion, as well as their rights to due process and equal protection of the laws.
13
            22.     Christians hold the Holy Bible to be the basis of their faith in God, through Jesus
14
     Christ and the Holy Spirit.
15
            23.     The Holy Bible instructs faith-based persons on how to live and how to exercise
16
     their religion, and the U.S. Constitution explicitly protects their right to do so, in the First
17
     Amendment.
18
            24.     Beginning in early 2020, the COVID-19 virus became a grave concern for the
19
     world, including the State of Washington and King County.
20
            25.     Governor Inslee, the Governor of Washington, issued his first proclamation on
21
     January 1, 2021, Proclamation 20-05, et seq., relating to COVID-19 under RCW 38.08, RCW
22
     38.52, and RCW 43.06, effectively deploying the state militia, declaring a state of emergency,
23
     and limiting activities to those he believed to be necessary to preserve and maintain life, health,
24
     property,             and/or              the             public             peace.             See
25
     https://governor.wa.gov/sites/default/files/proclamations/proc_20-25.12.pdf.
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1           26.     On May 29, 2020, Governor Inslee announced a county-by-county plan by which

2    counties could move through phased reopening based on metric analysis of the number of cases

3    reported in relation to health care system readiness.

4           27.     Proclamation 20-25.4, issued by Governor Inslee, outlined the phased reopening

5    plan, stating that employers are required to: “…provide at no cost cloth facial

6    coverings…following public health recommendations for testing and disease control

7    measures…educate workers…maintain minimum six-foot distance when possible…staggering

8    work shift, and staggering breaks…establishing a housekeeping schedule including frequent

9    cleaning and sanitizing…screen employees for signs and symptoms…and cordon off areas where

10   a person known to have had COVID-19 worked.”

11          28.     In accordance with the Vaccine Mandate for the State of Washington issued on

12   August 20, 2021, all of the Plaintiffs submitted a timely request for exemption from the

13   vaccination, based on each Plaintiff’s sincerely held religious beliefs.

14          29.     Each of the Plaintiffs holds religious convictions that prevent them from taking

15   the COVID-19 vaccination. Their beliefs are sincere, and must be presumed as such by this Court.

16          30.     Due to their sincerely held religious beliefs, each Plaintiff submitted a request for

17   a religious accommodation pursuant to Washington’s Law Against Discrimination, RCW ch.

18   49.60 (the “WLAD”), to the Defendants, as their employers.

19          31.     Plaintiffs’ requests for religious exemptions were approved by their employers,

20   the Defendants, based on Plaintiffs’ sincerely held religious beliefs.

21          32.     Plaintiffs were initially granted an exemption and offered an accommodation

22   through December 31, 2021, in the form of being placed on the “day shift,” i.e., being given

23   administrative duties that did not require them to have any contact with the public.

24          33.     This “accommodation” was itself an adverse employment action, taken only

25   against those firefighters who exercised their statutory and constitutional rights and requested an

26   exemption from the vaccination requirement on religious grounds. For instance, the unvaccinated

27   firefighters were required to wear masks and housed in a City storage building, riddled with mold,

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1    and with no hot water, telephone lines, or back up generator for when the power went out. Other

2    employees who did not request religious exemptions were not subject to this “accommodation.”

3           34.     Plaintiff, Mr. Hall, opted to utilize leave under the Family & Medical Leave Act

4    (the “FMLA”), and remained on protected leave until January 15, 2022. When Mr. Hall’s leave

5    expired, he was terminated by the Defendants on January 21, 2022. No accommodations were

6    offered to Mr. Hall for him to be able to continue in his position after that date, short of his

7    determining to receive the vaccine and being given an extended time frame to do so.

8           35.     Plaintiff, Mr. Anderson, also opted to utilize leave under the FMLA, and remained

9    on protected leave until March 11, 2022. Mr. Anderson subsequently resigned his position, having

10   been advised that he would shortly face termination for his inability to receive the COVID-19

11   vaccine. No accommodations were offered to Mr. Anderson for him to be able to continue in his

12   position, short of his determining to receive the vaccine and being given an extended time frame

13   to do so.

14          36.     Plaintiff, Mr. Disch, also opted to utilize leave under the FMLA, and remained on

15   protected leave until March 24, 2022. When Mr. Disch’s leave expired, he was terminated by

16   Defendants on April 5, 2022. No accommodations were offered to Mr. Disch for him to be able

17   to continue in his position after that date, short of his determining to receive the vaccine and being

18   given an extended time frame to do so.

19          37.     Plaintiff, Mr. Grondahl, also opted to utilize leave under the FMLA, and remained

20   on protected leave until April 11, 2022. When Mr. Grondahl’s leave expired, he was terminated

21   by the Defendants on April 18, 2022. No accommodations were offered to Mr. Disch for him to

22   be able to continue in his position after that date, short of his determining to receive the vaccine

23   and being given an extended time frame to do so.

24          38.     Plaintiff, Mr. Gustafson, accepted the “accommodation” offered by Defendants,

25   and continued to work on the “day shift” until December 31, 2021, at which time he was

26   terminated by the Defendants for his inability to receive the COVID-19 vaccine. No

27   accommodations were offered to Mr. Gustafson for him to be able to continue in his position after

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1    December 31, 2021, short of his determining to receive the vaccine and being given an extended

2    time frame to do so.

3           39.     Plaintiff, Mr. Magnotti, also accepted the “accommodation” offered by

4    Defendants, and continued to work on the “day shift” until December 31, 2021, at which time he

5    was terminated by the Defendants for his inability to receive the COVID-19 vaccine. No

6    accommodations were offered to Mr. Magnotti for him to be able to continue in his position after

7    December 31, 2021, short of his determining to receive the vaccine and being given an extended

8    time frame to do so.

9           40.     The named Defendants s i m p l y rubber- stamped denials of any further

10   accommodations based on the faulty premise that the Plaintiffs could not safely provide services.

11   Indeed, nearly a month before their accommodations expired, the City notified Plaintiffs (in

12   virtually identical emails) that “[a]fter December 31, the City will no longer be able to offer a day-

13   shift assignment as a reasonable accommodation. The City has further evaluated the other

14   alternative accommodations that were offered, including use of leave and leave without pay, and

15   determined that we can no longer absorb the burdens of those accommodations.” See, e.g.,

16   electronic correspondence dated December 3, 2021, to Corey Hall from Amy Bolen, on behalf of

17   Deputy City Manager Jim Lopez, a true and correct copy of which is attached hereto as Exhibit 4.

18          41.     When these emails were sent out, on December 3, 2021, it is clear that the City had

19   already determined to terminate all individuals who still declined to receive the COVID-19 vaccine,

20   as each of the emails stated that “[w]ithout an accommodation or vaccination, you cannot perform

21   an essential function of your position. Therefore, the City anticipates that you will have to be

22   separated from employment with the City…If we have not received a voluntary separation letter

23   from you by Monday, December 20, …the City will proceed with the pre-separation process.” Id.

24          42.     Prior to the time when the COVID-19 vaccine first became available, the Kirkland

25   Fire Department utilized the standard array of PPE required for “infectious disease” protocols,

26   including, but not limited to N95 masks, gloves, gowns, and eye goggles, in order to prevent the

27   spread of the virus. Other accepted measures such as social distancing and testing were also used.

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1           43.     No information was provided to Plaintiffs explaining why the reasonable

2    accommodations of masking, social distancing, and regular testing could not be used as an

3    accommodation, when such accommodations had previously been considered sufficient to

4    address the threat of employees’ exposure to COVID-19. Instead, the City seems to have

5    determined that it would not offer any accommodations after the December 31 cutoff that would

6    permit Plaintiffs or others to remain in their positions, short of an employees’ determining to

7    receive the vaccination. Indeed, the City has made no effort to specify the “undue hardship” it

8    relies upon, and there is no “undue hardship,” under recognized law.

9           44.     Nonetheless, the City proceeded to terminate the Plaintiffs named herein, by way

10   of Notices of Termination sent from Truc Dever, Human Resources Director. See, e.g.,

11   Termination Notice sent to Mr. Gustafson, dated 12/29/2021, a true and correct copy of which is

12   attached hereto as Exhibit 5. Some notices were sent in December, 2021, with others being sent

13   closer to when Mr. Disch and Mr. Hall were terminated, some months later in 2022.

14          45.     Around the time of Mr. Gustafson’s and Mr. Magnotti’s termination, a Memorandum

15   of Understanding (“MOU”) was reached between the City of Kirkland and the International

16   Association of Firefighers, Local No. 2545 (“Local 2545”), of which all Plaintiffs were members. See

17   Memorandum of Understanding regarding Rehire of Unvaccinated Firefighters, dated December 23,

18   2021, a true and correct copy of which is attached hereto as Exhibit 6.

19          46.     Pursuant to that MOU, firefighters terminated for their inability to receive the

20   COVID-19 vaccine could apply to reinstatement to their former positions (or comparable

21   positions) for a period of two (2) years following their termination, in the event that they got fully

22   vaccinated or that there was no longer any federal, state, or local requirement for employees to be

23   fully vaccinated against COVID-19. See id.

24          47.     Pursuant to that MOU, Plaintiffs Mr. Gustafson, Mr. Disch, Mr. Grondahl, Mr.

25   Anderson, and Mr. Hall were reinstated to their former positions as Firefighters/EMT’s, but have

26   not been compensated for the damages suffered as a result of their prior termination and during

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1    the period they were separated from their employment. Moreover, all Plaintiffs seek damages,

2    declaratory, and injunctive relief.

3            48.      Despite terminating the Plaintiffs and refusing to offer them reasonable

4    accommodations, the City did extend accommodations beyond December 31 for one firefighter

5    asserting a religious exemption to receiving the vaccine, a Mr. Jason Chappell, over the objections

6    of Local 2545. No new MOU was bargained to carve out this especial benefit for Mr. Chappell,

7    which was not offered to Plaintiffs or other members of Local 2545, and so a grievance and Unfair

8    Labor Practice complaint was filed as a result of the City’s direct dealing with Mr. Chappell. The

9    City created a new position for Mr. Chappell, in violation of the relevant Collective Bargaining

10   Agreement, despite claiming it could no longer offer similar accommodations to Plaintiffs.

11           49.      At times, City representatives have made derogatory and demeaning statements

12   regarding Plaintiffs and their beliefs, and promoted the idea that the unvaccinated could be

13   harassed and treated as “second-class citizens” in the workplace.

14           50.      For instance, Deputy Chief Day was removed from the negotiating process for

15   accommodations between the City and Local 2545, due to his explicit personal bias against

16   unvaccinated firefighters claiming religious exemptions, and for his embarking on a personal

17   mission within the Department to ensure that no unvaccinated firefighters worked for, or were

18   hired by, the City of Kirkland. The City acknowledged the Deputy Chief’s bias and agreed to his

19   removal.

20           51.      The named Defendants have also made public statements heaping scorn on

21   Plaintiffs and promoting the idea that they were irresponsible or reckless for choosing not to

22   compromise their faith and subject themselves to an untested medical treatment.

23           52.      Plaintiffs have suffered severe psychological, emotional, and mental distress at the

24   hands of Defendants and as a result of their poor leadership, retaliation, hostility, and religious

25   discrimination directed towards Plaintiffs, as well as the violations of Plaintiffs’ constitutional liberties.

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1            53.     In addition to severe emotional trauma, Plaintiffs have suffered damages in the form

2    of lost pay and benefits, from the dates of their respective terminations through the dates of their

3    respective reinstatements, to the extent that Plaintiffs have been reinstated to their previous positions.

4            54.     Plaintiffs have complied with Washington’s claim presentment statute, RCW ch.

5    4.92, by properly filing tort claim forms with the City of Kirkland, more than sixty (60) days

6    prior to this filing. As of this filing, the State has not undertaken to resolve any of Plaintiffs’

7    claims, as set forth therein and as set forth here. All other conditions precedent to the filing of this

8    action have either been satisfied or been waived by the Defendants.

9                                           V.      JURY DEMAND.
10
             55.     Plaintiffs hereby demand a trial by jury, on all claims so triable as of right.
11
            VI.     CLAIM 1 – RELIGIOUS DISCRIMINATION IN VIOLATION OF WLAD.
12
             56.     Plaintiffs hereby incorporate and re-allege paragraphs 1 through 55 above, as if
13
     fully set forth herein.
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             57.     This Claim 1 alleges a violation of the WLAD, against all Defendants, for
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     Defendants’ intentional discrimination against Plaintiffs on the basis of their religion.
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             58.     As adherents of the Christian faith, Plaintiffs are members of a protected class.
17
             59.     The Defendants have individually and collectively treated Plaintiffs less favorably
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     in the terms and conditions of their employment than similarly situated employee(s) who are not
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     members of their protected class, including, but not limited to by: (i) offering them the
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     “accommodation” of being moved to a remote location with unsuitable facilities for performing
21
     their work; (ii) refusing to consider any reasonable accommodations offered by Plaintiffs; (iii)
22
     determining that the “accommodation” initially offered by the City could not be maintained after
23
     December 31, 2021, with no basis in fact or law for such a determination; and (iv) terminating
24
     Plaintiffs’ employment, after they maintained their beliefs and declined to receive the COVID-19
25
     vaccine. The similarly situated employee(s) whom Defendants have treated more favorably than
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     Plaintiffs do substantially the same work for the City of Kirkland.
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1            60.     Plaintiffs have been treated less favorably than similarly situated employees as a

2    direct result of religious discrimination against them, on the basis of their Christian faith.

3            61.     As a result of Defendants’ religious discrimination and unlawful animus against

4    Plaintiffs in violation of RCW 49.60.180 and RCW 49.60.030, Plaintiff is entitled to the remedies

5    provided by RCW 49.60.030, as well as by other applicable law.

6           VII. CLAIM 2 – HOSTILE WORK ENVIRONMENT IN VIOLATION OF WLAD.

7            62.     Plaintiffs hereby incorporate and re-allege paragraphs 1 through 61 above, as if

8    fully set forth herein.

9            63.     This Claim 2 alleges a violation of the WLAD against all Defendants, for the

10   Defendants’ maintenance of a hostile work environment wherein Plaintiffs were ostracized and

11   humiliated in front of their peers, due to their religion and the stigma of being identified as

12   unvaccinated in the workplace.

13           64.     As adherents of the Christian faith, Plaintiffs are members of a protected class.

14           65.     Because of Plaintiffs’ status as members of a protected class, they have suffered

15   frequent and egregious harassment at the hands of Kirkland Fire Department employees, including

16   those whose religious views (or lack thereof) did not prevent them from receiving the vaccine.

17           66.     This harassment, on the basis of their religion, was not invited or welcomed by

18   Plaintiffs.

19           67.     The harassment directed to Plaintiffs was sufficiently pervasive and significant to

20   alter the terms and conditions of their employment.

21           68.     The harassment directed to Plaintiffs is imputable to Defendants, as Plaintiffs’

22   employers, because Defendants took no meaningful action to stop, prevent or remedy such

23   harassment.

24           69.     Moreover, Defendants have engaged in affirmative conduct that had the effect of

25   stoking tensions between employees at the Kirkland Fire Department, including, but not limited to

26   segregating the Plaintiffs in a second-class, remote location away from their co-workers, and

27   making statements deingtrating them to their co-workers and to the public.

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1           70.     Plaintiffs have suffered severe humiliation, emotional distress, and mental anguish

2    as a result of the abusive work environment created by the City’s unreasonable approach to the

3    COVID-19 vaccine mandate and accommodating religious exemptions to that mandate, and which

4    Defendants condoned by taking no action to remedy it.

5           71.     Defendants knowingly permitted this abusive and hostile work environment to

6    subsist by taking no meaningful corrective action to stop, prevent, or remedy it.

7           72.     As a result of Defendants’ maintenance of a hostile work environment against

8    Plaintiffs, in violation of RCW 49.60.180 and RCW 49.60.030, Plaintiffs are entitled to the

9    remedies provided by RCW 49.60.030, as well as by other applicable law.

10                   VIII. CLAIM 3 – RETALIATION IN VIOLATION OF WLAD.

11          73.     Plaintiffs hereby incorporate and re-allege paragraphs 1 through 72 above, as if

12   fully set forth herein.

13          74.     This Claim 3 alleges a violation of the WLAD against all Defendants, for

14   Defendants’ intentional retaliation against Plaintiffs on the basis of their protected activities as

15   set forth herein.

16          75.     The Plaintiffs engaged in statutorily protected activity(ies) with respect to their

17   employment, including, but not limited to when they: (i) requested religious exemptions to the

18   COVID-19 vaccine mandate, on the basis of their sincerely held religious beliefs, in accordance

19   with the allowance of such exemptions by state and federal law, and by the Governor’s

20   proclamations; (ii) requested reasonable accommodations for the religious exemptions that the

21   Kirkland Fire Department had accepted; and (iii) exercised their rights with respect to leave under

22   the FMLA.

23          76.     Defendants were aware of each of the Plaintiffs’ aforementioned, statutorily

24   protected activities, from the time that Plaintiffs engaged in them.

25          77.     Defendants have individually and collectively taken several adverse actions against

26   Plaintiffs’ employment, as a direct result of their engaging in the aforementioned statutorily

27   protected activities, including, but not limited to: (i) offering them the “accommodation” of being

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1     moved to a remote location with unsuitable facilities for performing their work; (ii) refusing to

2     consider any reasonable accommodations offered by Plaintiffs; (iii) determining that the

3     “accommodation” initially offered by the City could not be maintained after December 31, 2021,

4     with no basis in fact or law for such a determination; and (iv) terminating Plaintiffs’ employment,

5     after they maintained their beliefs and declined to receive the COVID-19 vaccine.

6              78.   Defendants’ unlawful animus against Plaintiffs and their desire to retaliate against

7     Plaintiffs for engaging in statutorily protected activities were, at the very least, “substantial

8     factors” in taking the aforementioned, adverse actions against Plaintiffs’ employment.

9              79.   As a result of Defendants’ retaliation against Plaintiffs in violation of RCW

10    49.60.210, Plaintiff is entitled to the remedies provided by RCW 49.60.030, as well as by other

11    applicable law.

12       IX. CLAIM 4 – WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
13             80.   Plaintiffs hereby incorporate and re-allege paragraphs 1 through 79 above, as if
14   fully set forth herein.
15             81.   This Claim 4 alleges a claim under the common law of the State of Washington, for
16   Defendants’ wrongful termination of Plaintiffs in retaliation for their exercise of statutorily and
17   constitutionally protected rights, including that of making known their Christian beliefs and
18   objections to receiving the COVID-19 vaccine.
19             82.   The ability of an employee in the State of Washington to freely exercise one’s
20   conscience, particularly with respect to one’s religion and views concerning the sanctity of life and
21   individuals’ bodily integrity, is a matter that strikes at the heart of a citizen’s social rights and
22   duties.
23             83.   Employees such as Plaintiffs have a legal right and/or privilege not to be fired for
24   exercising legal rights and/or privileges protected by federal law and by the law of Washington.
25             84.   Plaintiffs engaged in a statutorily and constitutionally protected activity, including,
26   but not limited to when they engaged in the actions specifically identified in Claim 3, supra.
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1            85.     Defendants unlawfully took adverse actions against Plaintiff’s employment,

2    including, but not limited to when they took the discriminatory and retaliatory actions specifically

3    identified in Claims 1-3, supra.

4            86.     Defendants’ having taken adverse employment actions against Plaintiffs was the

5    direct result of their engaging in statutorily and constitutionally protected activities.

6            87.     Defendants’ wrongful termination of Plaintiffs, and other adverse employment

7    actions taken against them, were intentional and knowing, or in the alternative, were recklessly

8    indifferent to Plaintiffs’ rights under applicable federal and state law.

9                        IX.   CLAIM 5 – VIOLATION OF FIRST AMENDMENT,
10                 FREE EXERCISE OF RELIGION, PURSUANT TO 42 U.S.C. SECTION 1983
             88.     Plaintiff hereby incorporates and re-alleges paragraphs 1 through 87 above, as if
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     fully set forth herein.
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             89.     This Claim 5 alleges a claim against all Defendants, for the Defendants’ violation
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     of Plaintiffs’ rights to freely exercise their religion, as preserved by the First Amendment to the
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     U.S. Constitution and by the Washington Constitution, and is brought pursuant to 42 U.S.C. §
15
     1983.
16
             90.     The City’s determination not to accommodate employees claiming religious
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     exemptions is a governmental act that substantially burdens the Plaintiffs’ practice of their religion.
18
             91.     The City’s determination is neither neutral with respect to religion, nor generally
19
     applicable, and therefore strict scrutiny is the applicable standard.
20
             92.     There was no compelling governmental interest in foregoing recognized and
21
     accepted precautionary measures to prevent the spread of COVID-19, and instead, requiring the
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     Plaintiffs to either accept the vaccination or forfeit their employment. There was further no
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     compelling governmental interest in denying accommodations to those claiming religious
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     exemptions, particularly in light of the Governor’s recognition of religious exemptions and the
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     City’s accommodation of medical exemptions.
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1            93.     Moreover, the actions taken by the City with respect to Plaintiff’s employment were

2    not narrowly tailored to the goal of preventing the spread of COVID-19, nor were they the least

3    restrictive means for accomplishing that goal.

4            94.     Upon information and belief, the City has acted with unlawful animus against those

5    of the Christian faith, in choosing to categorically deny them reasonable accommodations.

6            95.     Alternatively to the foregoing allegations, the City’s adverse actions taken with

7    respect to Plaintiffs’ employment were not rationally related to a legitimate government purpose.

8            96.     The individual Defendants Chief Sanford, Deputy Chief Day, City Manager Lopez,

9    and Mayor Sweet were all personally involved in the decision to deny reasonable accommodations

10   to the Plaintiffs and in all other adverse actions with respect to their employment.

11                    X.   CLAIM 6 – VIOLATION OF FOURTEENTH AMENDMENT,
12                    DUE PROCESS CLAUSE, PURSUANT TO 42 U.S.C. SECTION 1983
             97.     Plaintiff hereby incorporates and re-alleges paragraphs 1 through 96 above, as if
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     fully set forth herein.
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             98.     This Claim 6 alleges a claim against all Defendants, for the Defendants’ violation
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     of Plaintiffs’ rights to substantive and procedural due process, as preserved by the Fourteenth
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     Amendment to the U.S. Constitution and by the Washington Constitution, and is brought pursuant
17
     to 42 U.S.C. § 1983.
18
             99.     The Equal Protection Clause and the Due Process Clause of the Fourteenth
19
     Amendment to the U.S. Constitution, as well as the Washington State Constitution, prohibit the
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     Defendants from significantly interfering with the Plaintiff’s fundamental constitutional rights, as
21
     well as their legitimate property interests.
22
             100.    The Plaintiffs enjoyed protectable property rights in their employment positions
23
     with the City, and the pay and benefits attendant to same, to which they were entitled by law.
24
             101.    Alternatively, Defendants placed unconstitutional conditions on the Plaintiff’s
25
     receipt of government benefits, requiring them to forego their fundamental constitutional liberties
26
     in order to receive those benefits.
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1           102.    The Plaintiffs also enjoyed rights of bodily integrity and to be free from unwanted,

2    unnecessary, and ineffective medical treatments to which they did not consent.

3           103.    In requiring the Plaintiffs to either accept the vaccination or face termination and

4    other adverse employment actions, the City imposed unconstitutional burdens on the Plaintiff’s

5    exercise of their property rights and rights to bodily autonomy, and deprived them of these rights.

6           104.    The City denied adequate procedural protections to Plaintiffs, in determining to

7    deprive them of their rights without offering reasonable accommodations or engaging in an

8    interactive process with respect to the religious exemptions claimed by Plaintiffs.

9           105.     There was no compelling governmental interest in foregoing recognized and

10   accepted precautionary measures to prevent the spread of COVID-19, and instead, requiring the

11   Plaintiffs to either accept the vaccination or forfeit their employment. There was further no

12   compelling governmental interest in denying accommodations to those claiming religious

13   exemptions, particularly in light of the Governor’s recognition of religious exemptions and the

14   City’s accommodation of medical exemptions.

15          106.    Moreover, the actions taken by the City with respect to Plaintiff’s employment were

16   not narrowly tailored to the goal of preventing the spread of COVID-19, nor were they the least

17   restrictive means for accomplishing that goal.

18          107.    Upon information and belief, the Defendants acted with unlawful animus against

19   those of the Christian faith, in choosing to categorically deny them reasonable accommodations.

20          108.    Alternatively to the foregoing allegations, the Defendants’ adverse actions taken

21   with respect to Plaintiffs’ employment were not rationally related to a legitimate government

22   purpose.

23          109.    The individual Defendants Chief Sanford, Deputy Chief Day, City Manager Lopez

24   and Mayor Sweet were all personally involved in the decision to deny reasonable accommodations

25   to the Plaintiffs and in all other adverse actions with respect to their employment.

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                        XI.  CLAIM 7 – VIOLATION OF FOURTEENTH AMENDMENT,
1                    EQUAL PROTECTION CLAUSE, PURSUANT TO 42 U.S.C. SECTION 1983
2             110.     Plaintiff hereby incorporates and re-alleges paragraphs 1 through 109 above, as if
3    fully set forth herein.
4             111.     This Claim 7 is a claim against all Defendants, for the Defendants’ violation of
5    Plaintiffs’ rights to equal protection of the laws, as preseved by the Fourteenth Amendment to the
6    U.S. Constitution, and by the Washington Constitution, and is brought pursuant to 42 U.S.C.
7    §1983.
8             112.     The Equal Protection Clause and the Due Process Clause of the Fourteenth
9    Amendment to the U.S. Constitution, as well as the Washington State Constitution, prohibit the
10   Defendants from treating similarly situated groups and speakers differently based on their exercise
11   of conscience and of the religious liberty protected by the First Amendment.
12            113.     Upon information and belief, Plaintiffs have been treated differently than other,
13   similarly situated employees who did not exercise such First Amendment rights, such as those
14   employees who sought medical exemptions and accommodations relating thereto.
15            114.     There was no compelling governmental interest in treating Plaintiffs differently
16   from similarly-situated employees, and instead, requiring the Plaintiffs to either accept the
17   vaccination or forfeit their employment. There was further no compelling governmental interest in
18   denying accommodations to those claiming religious exemptions, particularly in light of the
19   Governor’s recognition of religious exemptions and the City’s accommodation of medical
20   exemptions.
21            115.     Moreover, the actions taken by the City with respect to Plaintiff’s employment were
22   not narrowly tailored to the goal of preventing the spread of COVID-19, nor were they the least
23   restrictive means for accomplishing that goal.
24            116.     Upon information and belief, the Defendants have acted with unlawful animus
25   against those of the Christian faith, in choosing to categorically deny them reasonable
26   accommodations.
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1           117.    Alternatively to the foregoing allegations, the Defendants’ adverse actions taken

2    with respect to Plaintiffs’ employment were not rationally related to a legitimate government

3    purpose.

4           118.    The individual Defendants Chief Sanford, Deputy Chief Day, City Manager Lopez

5    and Mayor Sweet were all personally involved in the decision to deny reasonable accommodations

6    to the Plaintiffs and in all other adverse actions with respect to their employment.

7                                     XII.   REQUEST FOR RELIEF.

8           WHEREFORE, the Plaintiffs, ERIK GUSTAFSON, JAMES ANDERSON, COREY

9    HALL, MARIO MAGNOTTI, DAVID GRONDAHL, and JESSE DISCH, respectfully request that

10   the Court enter judgment in their favor, and award the following relief:

11           A.     General and compensatory damages for Plaintiffs’ lost wages, lost benefits,

12   emotional distress, humiliation, and anguish, against all Defendants, jointly and severally, in an

13   amount to be determined at trial;

14           B.     An award of punitive damages against all Defendants, jointly and severally, in an
     amount to be determined at trial;
15
             C.     Declaratory judgment, finding that Defendants’ employment practices as alleged
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     herein represent a violation of the United States Constitution, the Washington Constitution, the
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     Washington Law Against Discrimination, and/or the public policy of the State of Washington, in
18
     the respects set forth above;
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             D.     Permanent injunctive relief, enjoining Defendants from terminating or taking any
20
     other adverse employment action against employees whose religious exemptions to the COVID-
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     19 vaccine or to other workplace requirements can be reasonably accommodated, and requiring
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     Defendants to reasonably accommodate same;
23          B.      Attorney’s fees, costs, and expenses, pursuant to any applicable source of law; and
24          C.      And such other and further relief as the Court may deem proper.
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1    Respectfully submitted this 27th day of February, 2025.

2                                                ROBERT A. BOUVATTE, PLLC
3

4                                                By: ________________________________
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5                                                Attorney for Plaintiffs
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7                                                PH: (564) 999-4005
                                                 bob@rbouvattepllc.com
8                                                rbouvattelaw@gmail.com

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